               Case 9:24-bk-10585-RC                    Doc 1 Filed 05/24/24 Entered 05/24/24 14:02:19                                     Desc
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Digital Market Media, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          FKA Digital Market Media, LLC
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  872 Higuera Street                                              P.O. Box 1216
                                  San Luis Obispo, CA 93401                                       Arroyo Grande, CA 93421
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  San Luis Obispo                                                 Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.digitalmarketmedia.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Digital Market Media, Inc.                                                                   Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5416

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    Digital Market Media, Inc.                                                                      Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      Thomas and Dawn Carolan                                       Relationship               Shareholders
                                                                 Central District of
                                                     District    California          When                                      Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                              50-99                                            5001-10,000                                 50,001-100,000
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion



Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor   Digital Market Media, Inc.                                                    Case number (if known)
         Name


16. Estimated liabilities       $0 - $50,000                               $1,000,001 - $10 million             $500,000,001 - $1 billion
                                $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                                $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                                $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Attorney or Party Name, Address, Telephone & FAX Nos., and State Bar No. &        FOR COURT USE ONLY
Email Address
Edwin J. Rambuski
1401 Higuera Street
San Luis Obispo, CA 93401-2915
(805) 546-8284 Fax: (805) 546-8489
California State Bar Number: 109602 CA
edwin@rambuskilaw.com




     Attorney for: Debtors
                                                UNITED STATES BANKRUPTCY COURT
                                                 CENTRAL DISTRICT OF CALIFORNIA

In re:                                                                        CASE NO.:
         Digital Market Media, Inc.                                           ADVERSARY NO.:
                                                                   Debtor(s), CHAPTER: 7

                                                                  Plaintiff(s),
                                                                                    CORPORATE OWNERSHIP STATEMENT
                                                                                       PURSUANT TO FRBP 1007(a)(1)
                                                                                         and 7007.1, and LBR 1007-4

                                                                                                                   [No hearing]
                                                              Defendant(s).

Pursuant to FRBP 1007(a)(1) and 7007.1, and LBR 1007-4, any corporation, other than a governmental unit, that is a debtor in
a voluntary case or a party to an adversary proceeding or a contested matter shall file this Statement identifying all its parent
corporations and listing any publicly held company, other than a governmental unit, that directly or indirectly own 10% or more
of any class of the corporation’s equity interest, or state that there are no entities to report. This Corporate Ownership
Statement must be filed with the initial pleading filed by a corporate entity in a case or adversary proceeding. A supplemental
statement must promptly be filed upon any change in circumstances that renders this Corporate Ownership Statement
inaccurate.

I,    Dawn Carolan                                                            , the undersigned in the above-captioned case, hereby declare
                 (Print Name of Attorney or Declarant)
under penalty of perjury under the laws of the United States of America that the following is true and correct:




___________________________________________________________________________
                This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December 2012                                                                                                F 1007-4.CORP.OWNERSHIP.STMT
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Fill in this information to identify the case:

Debtor name           Digital Market Media, Inc.

United States Bankruptcy Court for the:                      CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $                237.66

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $                237.66


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           103,800.24

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        2,796,648.02


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $           2,900,448.26




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
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Fill in this information to identify the case:

Debtor name         Digital Market Media, Inc.

United States Bankruptcy Court for the:     CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number
                   Wells Fargo Bank

                   *Note: This account has a negative
          3.1.     balance of $5,590.29                              Checking                              2027                                             $0.00




          3.2.     Wells Fargo Bank                                  Savings                               3087                                             $2.15




          3.3.     Pacific Western Bank                              Checking                              9724                                         $90.51



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                          $92.66
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?
Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
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Debtor       Digital Market Media, Inc.                                                      Case number (If known)
             Name



      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                      3,329.75       -                              3,329.75 = ....                        $0.00
                                       face amount                             doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                                                 $0.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                               Net book value of         Valuation method used   Current value of
                                                                            debtor's interest         for current value       debtor's interest
                                                                            (Where available)

39.       Office furniture
          Desk and chair                                                                   $0.00      Liquidation                            $20.00



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Laptop and desktop computer                                                      $0.00      Liquidation                          $125.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                         page 2
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Debtor        Digital Market Media, Inc.                                               Case number (If known)
              Name


43.        Total of Part 7.                                                                                                            $145.00
           Add lines 39 through 42. Copy the total to line 86.

44.        Is a depreciation schedule available for any of the property listed in Part 7?
              No
              Yes

45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
              No
              Yes

Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                        Net book value of         Valuation method used     Current value of
                                                                      debtor's interest         for current value         debtor's interest
                                                                      (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites
           www.digitalmarketmedia.com                                                $0.00      N/A                                         $0.00



62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                            $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 3
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             Name


             No
             Yes

Part 11:     All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                       page 4
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Debtor          Digital Market Media, Inc.                                                                          Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                   $92.66

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                               $145.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                                   $237.66        + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                     $237.66




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                      page 5
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Fill in this information to identify the case:

Debtor name       Digital Market Media, Inc.

United States Bankruptcy Court for the:       CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.




Official Form 206D                         Schedule D: Creditors Who Have Claims Secured by Property                                           page 1 of 1
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Fill in this information to identify the case:

Debtor name        Digital Market Media, Inc.

United States Bankruptcy Court for the:          CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                               $225.26         $225.26
          Alabama Department of Labor                         Check all that apply.
          50 North Ripley Street                                 Contingent
          Montgomery, AL 36132                                   Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
          2024                                                Payroll tax

          Last 4 digits of account number 2223                Is the claim subject to offset?

          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             $4,623.54         $4,623.54
          Alicia Becker                                       Check all that apply.
          7281 Blackstone Drive                                  Contingent
          Florence, KY 41042                                     Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
          2024                                                Employee wages
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 35
                                                                                                              50320
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Debtor      Digital Market Media, Inc.                                                               Case number (if known)
            Name

2.3      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,472.64    $1,472.64
         Alyse O. Locklear                                  Check all that apply.
         1055 Flats Ave                                        Contingent
         #206                                                  Unliquidated
         Mebane, NC 27302                                      Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.4      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,345.46    $2,345.46
         Angela L. Trout                                    Check all that apply.
         3413 Cottage St                                       Contingent
         Brownwood, TX 76801                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.5      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $21.42     $21.42
         Arizona Department of Revenue                      Check all that apply.
         P.O. Box 29009                                        Contingent
         Phoenix, AZ 85038                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Payroll tax
         Last 4 digits of account number 6708               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.6      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $3,068.17    $3,068.17
         Brande L. Bell                                     Check all that apply.
         383 Chadwick Commons                                  Contingent
         Stockbridge, GA 30281                                 Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.7      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,563.14    $1,563.14
         Brittany N. Stetson                                Check all that apply.
         PO Box 280                                            Contingent
         White Oak, NC 28399                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.8      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,498.14    $1,498.14
         Catherin A. Myers                                  Check all that apply.
         157 Big Pine Dr                                       Contingent
         Valley Grande, AL 36701                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.9      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,184.80    $1,184.80
         Cathie O. Snider                                   Check all that apply.
         8713 North Kensington Rd                              Contingent
         Oklahoma City, OK 73132                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.10     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,507.26    $2,507.26
         Chiquita M. Jolliff                                Check all that apply.
         943 May Street, 2nd Floor                             Contingent
         Hammond, IN 46320                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.11     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,739.18    $2,739.18
         Christie A. Mays                                   Check all that apply.
         3 Dot Dr                                              Contingent
         Fayetteville, TN 37334                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.12     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,536.32    $1,536.32
         Christopher H. Baker                               Check all that apply.
         5400 Rock Chalk                                       Contingent
         #20-308                                               Unliquidated
         Lawrence, KS 66049                                    Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.13     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $4,826.29    $4,826.29
         Christopher Newsome                                Check all that apply.
         11726 Rolling Stream Dr                               Contingent
         Tomball, TX 77375                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.14     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,595.35    $1,595.35
         Clarisse Sniezek                                   Check all that apply.
         606 Tanana Fall Drive                                 Contingent
         Ruskin, FL 33570                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.15     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $44.74     $44.74
         Commonwealth of Kentucky                           Check all that apply.
         Office of Unemployment Insurance                      Contingent
         P.O. Box 948                                          Unliquidated
         Frankfort, KY 40602-0948                              Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Payroll tax
         Last 4 digits of account number 5787               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.16     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,690.70    $1,690.70
         Cortez D. Allen                                    Check all that apply.
         7313 Covert Ave                                       Contingent
         Cleveland, OH 44105                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.17     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $5,725.41    $5,725.41
         Diego Chalarca                                     Check all that apply.
         677 Trace Circle #201                                 Contingent
         Deerfield Beach, FL 33441                             Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.18     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,724.36    $1,724.36
         Ethel Loycelle Baxter                              Check all that apply.
         1916 Hewett Lane                                      Contingent
         Maitland, FL 32751                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.19     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,631.55    $2,631.55
         Faisal Zeid                                        Check all that apply.
         7930 Tireswing Rd                                     Contingent
         Dunn Loring, VA 22027                                 Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.20     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $800.00     $800.00
         Franchise Tax Board                                Check all that apply.
         Bankruptcy Section, MS: A-340                         Contingent
         P.O. Box 2952                                         Unliquidated
         Sacramento, CA 95812-2952                             Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Form 100-ES
         Last 4 digits of account number 8780               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.21     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,427.71    $1,427.71
         Gabriel A. Sandoval                                Check all that apply.
         12140 N Kylene Canyon Dr                              Contingent
         Oro Valley, AZ 85755                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.22     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,482.98    $2,482.98
         Glenda S. Gustin                                   Check all that apply.
         13506 E. 4th Place                                    Contingent
         Tulsa, OK 74108-1104                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.23     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,925.56    $2,925.56
         Guadalupe P. Conolly                               Check all that apply.
         2008 1/2 Stratford Ave                                Contingent
         Neptune, NJ 07753                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.24     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,757.34    $1,757.34
         Jana H. Norrell                                    Check all that apply.
         1045 Landsdowne Manor Ln E                            Contingent
         Apt. 248                                              Unliquidated
         Memphis, TN 38117                                     Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.25     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,629.68    $2,629.68
         Jennifer Geston-Selbach                            Check all that apply.
         1423 Wisconsin Ave                                    Contingent
         Palm Harbor, FL 34683                                 Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.26     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,959.62    $1,959.62
         Jennifer N. Gibbs                                  Check all that apply.
         102 N Seaview Road                                    Contingent
         Wilmington, NC 28409                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.27     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,561.40    $1,561.40
         Jessica N. Feltner                                 Check all that apply.
         1120 S. Timber Creek Dr.                              Contingent
         Milford, OH 45150                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.28     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $3,024.61    $3,024.61
         Juan Ramos                                         Check all that apply.
         3014 Fairfield Dr                                     Contingent
         Brownsville, TX 78526                                 Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.29     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,536.35    $2,536.35
         Judith Philbrook                                   Check all that apply.
         1903 Willowbend Dr                                    Contingent
         Killeen, TX 76543                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.30     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,635.05    $1,635.05
         Kautiana M. Ford                                   Check all that apply.
         3144 Artemisia Lane                                   Contingent
         Wesley Chapel, FL 33543                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.31     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $3,560.65    $3,560.65
         Keith W. Moore                                     Check all that apply.
         602 Buckner St                                        Contingent
         Elsmere, KY 41018                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.32     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $986.34     $986.34
         Kenneth A. Casson                                  Check all that apply.
         101 East 43rd Street 2                                Contingent
         Taylor Mill, KY 41015                                 Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.33     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,755.84    $1,755.84
         Lisa M. Knapp                                      Check all that apply.
         8400 Northwest 25 Street                              Contingent
         #100                                                  Unliquidated
         Doral, FL 33198                                       Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.34     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $70.60     $70.60
         Louisiana Department of Revenue                    Check all that apply.
         P.O. Box 201                                          Contingent
         Baton Rouge, LA 70821-0201                            Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Payroll tax
         Last 4 digits of account number 0001               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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2.35     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,229.46    $2,229.46
         Macy D. Lee                                        Check all that apply.
         2305 San Pedro Dr                                     Contingent
         College Station, TX 77845                             Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.36     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $16.20     $16.20
         Madison P. Jones                                   Check all that apply.
         2109 West Ln                                          Contingent
         Jacksonville, AR 72076                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.37     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $20.74     $20.74
         Missouri Department of Labor and                   Check all that apply.
         Industrial Relations                                  Contingent
         P.O. Box 59                                           Unliquidated
         Jefferson City, MO 65104-0059                         Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Payroll tax
         Last 4 digits of account number 3000               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.38     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,114.68    $1,114.68
         Natasha N. Morris                                  Check all that apply.
         1003 Cobb Road                                        Contingent
         Statesboro, GA 30461                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.39     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $57.53     $57.53
         North Carolina Department                          Check all that apply.
         Commerce                                              Contingent
         Employment Security Division                          Unliquidated
         P.O. Box 26504                                        Disputed
         Raleigh, NC 27611-6504
         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Payroll tax

         Last 4 digits of account number 5461               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.40     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $373.80     $373.80
         Ohio Department of Job-Family                      Check all that apply.
         Serv.                                                 Contingent
         Office of Unemployment Insurance                      Unliquidated
         Op                                                    Disputed
         P.O. Box 182404
         Columbus, OH 43218-2404
         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Payroll tax
         Last 4 digits of account number 4003               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.41     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,982.24    $2,982.24
         Rachel S. Trout                                    Check all that apply.
         11726 Rolling Stream Dr                               Contingent
         Tomball, TX 77375                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.42     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,868.45    $1,868.45
         Ranjit K. Pandey                                   Check all that apply.
         1202 Parkway Dr                                       Contingent
         #1202                                                 Unliquidated
         Greenville, OH 45331                                  Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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            Name

2.43     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $3,336.97    $3,336.97
         Raquel Otero Morales                               Check all that apply.
         135 Honey Dr                                          Contingent
         Brownsville, TX 78520                                 Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.44     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,874.70    $1,874.70
         Regina L. Rodriguez                                Check all that apply.
         707 Racquet Ct                                        Contingent
         Harker Heights, TX 76548                              Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.45     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,582.30    $1,582.30
         Reynold P. Marshall                                Check all that apply.
         7917 Spring Run Dr                                    Contingent
         Magnolia, TX 77354                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.46     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,907.38    $1,907.38
         Robert E. Barnett                                  Check all that apply.
         8921 Bradwell Place                                   Contingent
         #208                                                  Unliquidated
         Fishers, IN 46037                                     Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.47     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,251.62    $1,251.62
         Shanita B. Reed                                    Check all that apply.
         18965 S Mobile St                                     Contingent
         Citronelle, AL 36522                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.48     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,795.70    $2,795.70
         Sharee Gavin                                       Check all that apply.
         6109 W Fordham Place                                  Contingent
         Cincinnati, OH 45213                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.49     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,933.85    $1,933.85
         Sharon V. Lezama                                   Check all that apply.
         1744 Wesminster Circle                                Contingent
         Griffin, GA 30223                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.50     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,297.26    $1,297.26
         Shawta Barnes                                      Check all that apply.
         711 W Sanford St, Unit B                              Contingent
         Arlington, TX 76012                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.51     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $821.40     $821.40
         Stacy L. Green                                     Check all that apply.
         805 Summit Park Trail #1                              Contingent
         McDonough, GA 30253                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.52     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $261.12     $261.12
         Stephen Evans                                      Check all that apply.
         1288 Bluets Rd                                        Contingent
         Newport, TN 37821                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.53     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $47.26     $47.26
         Tennessee Dept. of                                 Check all that apply.
         Labor-Workforce                                       Contingent
         Employment Security Division                          Unliquidated
         220 French Landing Drive                              Disputed
         Nashville, TN 37243
         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Payroll tax

         Last 4 digits of account number 9873               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.54     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,178.45    $1,178.45
         Tina L. Harvey                                     Check all that apply.
         6617 NE 49th Terrace                                  Contingent
         Kansas City, MO 64119                                 Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.55       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $2,524.62    $2,524.62
           Vanessa L. Vaughn                                    Check all that apply.
           12073 Roddy Rd                                          Contingent
           #15                                                     Unliquidated
           Gonzales, LA 70737                                      Disputed

           Date or dates debt was incurred                      Basis for the claim:
           2024                                                 Employee wages
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                   Yes


2.56       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $2,425.90    $2,425.90
           Virginia L. Smith                                    Check all that apply.
           19805 Green Forrest Dr.                                 Contingent
           Pass Christian, MS 39571                                Unliquidated
                                                                   Disputed

           Date or dates debt was incurred                      Basis for the claim:
           2024                                                 Employee wages
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                   Yes


2.57       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $1,761.15    $1,761.15
           Yanecy Perdomo                                       Check all that apply.
           5819 Palmetto Way                                       Contingent
           San Antonio, TX 78253                                   Unliquidated
                                                                   Disputed

           Date or dates debt was incurred                      Basis for the claim:
           2024                                                 Employee wages
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                   Yes



Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

3.1       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                       $45.00
          Aaron Karn                                                              Contingent
          208 Oak St.                                                             Unliquidated
          Bakersfield, CA 93304                                                   Disputed
          Date(s) debt was incurred 2023
                                                                              Basis for the claim: Corporate debt
          Last 4 digits of account number
                                                                              Is the claim subject to offset?     No       Yes

3.2       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                      $135.00
          AcquireCrowd                                                            Contingent
          4533 MacArthur Blvd., Ste A5314                                         Unliquidated
          Newport Beach, CA 92660                                                 Disputed
          Date(s) debt was incurred 2023
                                                                              Basis for the claim: Corporate debt
          Last 4 digits of account number
                                                                              Is the claim subject to offset?     No       Yes



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3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,260.00
         Adam Lubenow                                                 Contingent
         21114 N 37th Run                                             Unliquidated
         Phoenix, AZ 85050                                            Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $24,320.00
         Adjunct Media                                                Contingent
         22 Brookside Terrance                                        Unliquidated
         Caldwell, NJ 07006                                           Disputed
         Date(s) debt was incurred 2022-2023
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $13,666.67
         AdMediary, LLC                                               Contingent
         23929 Valencia Blvd., Ste 404                                Unliquidated
         Valencia, CA 91355                                           Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $18,690.00
         Adsync Media LLC                                             Contingent
         1300 South Miami Avenue                                      Unliquidated
         Miami, FL 33130                                              Disputed
         Date(s) debt was incurred 2023-2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $12.00
         Alpine Digital Group, Inc.                                   Contingent
         13856 W. 2nd Ave                                             Unliquidated
         Golden, CO 80401                                             Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $148.00
         American Assurance                                           Contingent
         4445 Corporation Ln., Ste 264                                Unliquidated
         Virginia Beach, VA 23462                                     Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $882.00
         AmeriGuide Financial                                         Contingent
         P.O. Box 1497                                                Unliquidated
         Topeka, KS 66601                                             Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,378.57
         Angela Byrne                                                 Contingent
         Ballycullane Lane                                            Unliquidated
         Ballycullane New Ross Co Wexford                             Disputed
         Ireland
                                                                   Basis for the claim: Corporate debt
         Date(s) debt was incurred 2024
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $500.00
         Angela Gunness                                               Contingent
         3839 Megan Lane                                              Unliquidated
         Encinitas, CA 92024                                          Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $31,733.90
         Apollo Interactive, LLC                                      Contingent
         139 Illinois St                                              Unliquidated
         El Segundo, CA 90245                                         Disputed
         Date(s) debt was incurred 2023-2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $110.00
         Aqua Vida Media LLC                                          Contingent
         325 Sentry Pkwy                                              Unliquidated
         Bldg 5 W Ste 200                                             Disputed
         Blue Bell, PA 19422
                                                                   Basis for the claim: Corporate debt
         Date(s) debt was incurred 2023
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,513.00
         Aragon Advertising, LLC                                      Contingent
         66 Mineola Avenue, #1355                                     Unliquidated
         Roslyn Heights, NY 11577                                     Disputed
         Date(s) debt was incurred 2023-2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $2,560.00
         Assurance IQ                                                 Contingent
         920 5th Avenue, Ste 3600                                     Unliquidated
         Seattle, WA 98104                                            Disputed
         Date(s) debt was incurred 2023-2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $3,734.00
         B Two Direct, LLC                                            Contingent
         100 Sterling Pkwy, Ste 105                                   Unliquidated
         Mechanicsburg, PA 17050                                      Disputed
         Date(s) debt was incurred 2023-2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $1,080.00
         Betterlife Insurance                                         Contingent
         6522 Grand Teton Plaza                                       Unliquidated
         Madison, WI 53719                                            Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $1,200.00
         Big Brook Media, LLC                                         Contingent
         Little Brook Media                                           Unliquidated
         20 S. Main Street, Suite 206                                 Disputed
         New City, NY 10956
                                                                   Basis for the claim: Corporate debt
         Date(s) debt was incurred 2023
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $8,559.00
         Birdeye Inc.                                                 Contingent
         2479 E. Bayshore Rd, Suite #188                              Unliquidated
         Palo Alto, CA 94303                                          Disputed
         Date(s) debt was incurred 2023-2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $13,666.75
         Blue Wing Ads, LLC                                           Contingent
         Jeffrey Alan Libby                                           Unliquidated
         2637 E Atlantic Blvd, Suite #12566                           Disputed
         Pompano Beach, FL 33062
                                                                   Basis for the claim: Corporate debt
         Date(s) debt was incurred 2023
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $193,841.57
         Bluevine Inc.                                                Contingent
         401 Warren Street, Suite 300                                 Unliquidated
         Redwood City, CA 94063                                       Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $4,971.19
         Bullet EV Charging Solutions, LLC                            Contingent
         111 Congress Ave, Suite 500                                  Unliquidated
         Austin, TX 78701                                             Disputed
         Date(s) debt was incurred 2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $2,293.86
         Business Legal Partners                                      Contingent
         Attorneys at Law                                             Unliquidated
         35 N. Lake, Suite 710                                        Disputed
         Pasadena, CA 91101
                                                                   Basis for the claim: Corporate debt
         Date(s) debt was incurred 2023
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,980.00
         Clickdee, LLC                                                Contingent
         30 N. Gould Street, STE R                                    Unliquidated
         Sheridan, WY 82801                                           Disputed
         Date(s) debt was incurred 2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $9,272.00
         CO2 Ventures LLC                                             Contingent
         OnCore Leads                                                 Unliquidated
         9580 Oak Avenue Parkway, Suite 7                             Disputed
         Folsom, CA 95630
                                                                   Basis for the claim: Corporate debt
         Date(s) debt was incurred 2023
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $250.00
         Complete Sales LLC                                           Contingent
         1021 Lake Hollow Dr.                                         Unliquidated
         Little Elm, TX 75068                                         Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $29,147.97
         Convoso, Inc.                                                Contingent
         22837 Ventura Blvd., Ste. 300                                Unliquidated
         Woodland Hills, CA 91364                                     Disputed
         Date(s) debt was incurred 2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number 0209
                                                                   Is the claim subject to offset?     No       Yes

3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $3,615.00
         CTA Media                                                    Contingent
         15567 74th Avenue                                            Unliquidated
         Palm Beach Gardens, FL 33418                                 Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $280.00
         DDR Media, LLC                                               Contingent
         2213 Forest Hills Dr., Ste. 3                                Unliquidated
         Harrisburg, PA 17112                                         Disputed
         Date(s) debt was incurred 2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,666.76
         Diablo Media LLC                                             Contingent
         3001 Brighton Blvd, Suite 769                                Unliquidated
         Denver, CO 80216                                             Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $872.38
         Dianne Kristine Marmol                                       Contingent
         Block 2 Lot 30 Phase 1, Avida                                Unliquidated
         Settings Cavite, Molino 4, Bacoor                            Disputed
         Cavite, Philippines 4102
                                                                   Basis for the claim: Corporate debt
         Date(s) debt was incurred 2024
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $7.00
         Digital Media Solutions dba                                  Contingent
         Forte Media Solutions, LLC                                   Unliquidated
         4800 140th Ave North, Suite 101                              Disputed
         Clearwater, FL 33762
                                                                   Basis for the claim: Corporate debt
         Date(s) debt was incurred 2023
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $5,255.47
         Digital Viking Media, Inc.                                   Contingent
         13681 Newport Ave, Suite 8-226                               Unliquidated
         Tustin, CA 92780                                             Disputed
         Date(s) debt was incurred 2023-2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $3,467.19
         Digitree Solutions LLC                                       Contingent
         133 Hillside Drive                                           Unliquidated
         Neptune, NJ 07753                                            Disputed
         Date(s) debt was incurred 2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $970.00
         Direct2Market Digital Media Solut.                           Contingent
         70 Cooper Rd                                                 Unliquidated
         Rochester, NY 14617                                          Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $9,350.00
         DriveTake LLC                                                Contingent
         7000 West Palmetto Park Road                                 Unliquidated
         Ste. 210                                                     Disputed
         Boca Raton, FL 33433
                                                                   Basis for the claim: Corporate debt
         Date(s) debt was incurred 2024
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $14,226.00
         eLocal USA LLC                                               Contingent
         1010 Spring Mill Ave., Ste. 200                              Unliquidated
         Conshohocken, PA 19428                                       Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $900.00
         Employer Advocates Group                                     Contingent
         735 Tank Farm Road, Suite 130-B                              Unliquidated
         San Luis Obispo, CA 93401                                    Disputed
         Date(s) debt was incurred 2023-2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $634.00
         Enginefish LLC                                               Contingent
         707 Continental Circle Unit #312                             Unliquidated
         Mountain View, CA 94040                                      Disputed
         Date(s) debt was incurred 2023-2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $225.00
         Eternal Life Group, LLC                                      Contingent
         520 Plantation Creek Drive                                   Unliquidated
         Loganville, GA 30052                                         Disputed
         Date(s) debt was incurred 2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $5,781.91
         Excel Impact, LLC                                            Contingent
         382 NE 191st Street, Ste 57537                               Unliquidated
         Miami, FL 33179                                              Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $26,316.00
         ExlService.com, LLC                                          Contingent
         24 Arnett Avenue, Suite 100                                  Unliquidated
         Lambertville, NJ 08530                                       Disputed
         Date(s) debt was incurred 2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $420.00
         Family First Life                                            Contingent
         John Patrick Spera                                           Unliquidated
         475 FM 3427                                                  Disputed
         Greenville, TX 75401
                                                                   Basis for the claim: Corporate debt
         Date(s) debt was incurred 2024
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $90.00
         Family First Life                                            Contingent
         Thomas Barnes                                                Unliquidated
         5210 W Patrick Ln                                            Disputed
         Las Vegas, NV 89118
                                                                   Basis for the claim: Corporate debt
         Date(s) debt was incurred 2023
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $2,605.31
         First Insurance Funding                                      Contingent
         450 Skokie Blvd, Ste 1000                                    Unliquidated
         Northbrook, IL 60062-7917                                    Disputed
         Date(s) debt was incurred 2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number 3054
                                                                   Is the claim subject to offset?     No       Yes

3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $269,395.14
         Fora Financial Advance LLC                                   Contingent
         1385 Broadway, 15th Floor                                    Unliquidated
         New York, NY 10018                                           Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $576.00
         Forge47 LLC                                                  Contingent
         2833 Crockett Street, Unit #1047                             Unliquidated
         Fort Worth, TX 76107                                         Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $214,400.00
         Fresh Funding Solutions Inc.                                 Contingent
         157 Church Street, 19th Floor                                Unliquidated
         New Haven, CT 06510                                          Disputed
         Date(s) debt was incurred 2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $877,928.67
         Fresno First Bank                                            Contingent
         7690 N. Palm Ave., Ste. 101                                  Unliquidated
         Fresno, CA 93711                                             Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number 9110
                                                                   Is the claim subject to offset?     No       Yes

3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $846.00
         Glass Roots Marketing                                        Contingent
         400 Kelby Street, Ste 1200                                   Unliquidated
         Fort Lee, NJ 07024                                           Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $315.00
         Glatzer & Associates                                         Contingent
         10365 Cameilla St.                                           Unliquidated
         Pompano Beach, FL 33076                                      Disputed
         Date(s) debt was incurred 2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $502.22
         Google, Inc.                                                 Contingent
         Corporation Service Company                                  Unliquidated
         2710 Gateway Oaks Drive, Suite 150N                          Disputed
         Sacramento, CA 95833
                                                                   Basis for the claim: Corporate debt
         Date(s) debt was incurred 2024
         Last 4 digits of account number 9715                      Is the claim subject to offset?     No       Yes


3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $73.32
         Grasshopper                                                  Contingent
         333 Summer Street, 5th Floor                                 Unliquidated
         Boston, MA 02210                                             Disputed
         Date(s) debt was incurred 2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number 3586
                                                                   Is the claim subject to offset?     No       Yes

3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $165.00
         Grateful Addicts Recovery                                    Contingent
         12 Emmet Terrace, Apt. 3                                     Unliquidated
         Revere, MA 02151                                             Disputed
         Date(s) debt was incurred 2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1.00
         Gravie                                                       Contingent
         10 NE 2nd St. #300                                           Unliquidated
         Minneapolis, MN 55413                                        Disputed
         Date(s) debt was incurred 2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $2,155.00
         Greencore Environmental                                      Contingent
         John Feldman                                                 Unliquidated
         1515 N. Cocoa Blvd., Unit 102                                Disputed
         Cocoa, FL 32922
                                                                   Basis for the claim: Corporate debt
         Date(s) debt was incurred 2024
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $669.77
         Greencore Environmental                                      Contingent
         John Feldman                                                 Unliquidated
         4540 Bonanza St.                                             Disputed
         Cocoa, FL 32927
                                                                   Basis for the claim: Corporate debt
         Date(s) debt was incurred 2024
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $2,295.00
         Health Gods Consultants LLC                                  Contingent
         11235 NW 43rd Place                                          Unliquidated
         Coral Springs, FL 33065                                      Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $3,940.00
         Here Comes the Sun                                           Contingent
         9880 Indiana Avenue, Suite 3                                 Unliquidated
         Riverside, CA 92503                                          Disputed
         Date(s) debt was incurred 2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $6,195.61
         Hubspot Inc.                                                 Contingent
         2 Canal Park                                                 Unliquidated
         Cambridge, MA 02141                                          Disputed
         Date(s) debt was incurred 2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $15,092.00
         ICIT Development Corp.                                       Contingent
         300 Sunny Isles Blvd 1405                                    Unliquidated
         Sunny Isles Beach, FL 33160                                  Disputed
         Date(s) debt was incurred 2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,811.55
         Ifficient Inc.                                               Contingent
         12081 W. Alameda Pkwy #506                                   Unliquidated
         Lakewood, CO 80228                                           Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $560.00
         Inbound Ignite, LLC                                          Contingent
         8 The Green, Suite 17013                                     Unliquidated
         Dover, DE 19901                                              Disputed
         Date(s) debt was incurred 2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,702.35
         Inbounds LLC                                                 Contingent
         254 Chapman Rd, Ste 208                                      Unliquidated
         #5821                                                        Disputed
         Newark, DE 19702
                                                                   Basis for the claim: Corporate debt
         Date(s) debt was incurred 2023
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $665.00
         Insurance Solutions Group                                    Contingent
         2037 Northside Dr. East                                      Unliquidated
         Statesboro, GA 30458                                         Disputed
         Date(s) debt was incurred 2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $54,138.75
         Interest Media, Inc.                                         Contingent
         P.O. Box 875194                                              Unliquidated
         Kansas City, MO 64187-5194                                   Disputed
         Date(s) debt was incurred 2023-2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.67     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1.00
         Intuit, Inc.                                                 Contingent
         2700 Coast Avenue                                            Unliquidated
         Mountain View, CA 94043                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.68     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,506.88
         Jackqueline Stine                                            Contingent
         Unit 1621-1622, Soho Central Condo                           Unliquidated
         Shaw Blvd, Mandaluyong City                                  Disputed
         Philippines 1552
                                                                   Basis for the claim: Corporate debt
         Date(s) debt was incurred 2024
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.69     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $357.87
         Karen Kristeen G. Betita                                     Contingent
         5 F R Aquino St. N. Susan Executive                          Unliquidated
         Village, Matandang Balara                                    Disputed
         Quezon City, Philippines 1119
                                                                   Basis for the claim: Corporate debt
         Date(s) debt was incurred 2024
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.70     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $356.85
         Karen Y. Dionisio                                            Contingent
         23 Goldman St.                                               Unliquidated
         East Fairview, Quezon City                                   Disputed
         Philippines 1100 639662270802
                                                                   Basis for the claim: Corporate debt
         Date(s) debt was incurred 2024
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.71     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $201.42
         Kasey Geyer                                                  Contingent
         5350 Desoto Road, Apt. 1306                                  Unliquidated
         Sarasota, FL 34235                                           Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.72     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $810.00
         Kenneth Smith Insurance Services                             Contingent
         44855 Corte Casa                                             Unliquidated
         Temecula, CA 92592                                           Disputed
         Date(s) debt was incurred 2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.73     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $504.00
         Kingdom Insurance Group                                      Contingent
         515 North Broad Street                                       Unliquidated
         Thomasville, GA 31792                                        Disputed
         Date(s) debt was incurred 2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.74     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $150.00
         Lawanda Muhammad                                             Contingent
         13637 Aspen Leaf Ln                                          Unliquidated
         Eastvale, CA 92880                                           Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.75     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $98.00
         LeadProsper                                                  Contingent
         38 Rosscraggon Rd, Suite C                                   Unliquidated
         Asheville, NC 28803                                          Disputed
         Date(s) debt was incurred 2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.76     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $2,406.00
         LexisNexis Risk Solutions FL Inc                             Contingent
         28330 Network Place                                          Unliquidated
         Chicago, IL 60673-1283                                       Disputed
         Date(s) debt was incurred 2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number 9872
                                                                   Is the claim subject to offset?     No       Yes

3.77     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $990.00
         Luke Rankin                                                  Contingent
         11448 Highway 76 W                                           Unliquidated
         Gray Court, SC 29645                                         Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.78     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $330.00
         Ma. Jill B. Lugtu                                            Contingent
         877 Don Quijote St.                                          Unliquidated
         Sampaloc, Manila                                             Disputed
         Philippines 1015 693778149159
                                                                   Basis for the claim: Corporate debt
         Date(s) debt was incurred 2024
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.79     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $660.00
         Malachi Uysse                                                Contingent
         1317 Edgewater Dr., Ste. 5711                                Unliquidated
         Orlando, FL 32804                                            Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.80     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $2,000.00
         Mansueto Ventures, LLC                                       Contingent
         7 World Trade Center                                         Unliquidated
         New York, NY 10007                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.81     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4.25
         Media Force Ltd                                              Contingent
         26 Harokmim St.                                              Unliquidated
         Holon                                                        Disputed
         Israel 5885849
                                                                   Basis for the claim: Corporate debt
         Date(s) debt was incurred 2024
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.82     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,550.00
         Medicare Complete                                            Contingent
         Dalton Lawson                                                Unliquidated
         5119 NE 8th St                                               Disputed
         Kansas City, MO 64119
                                                                   Basis for the claim: Corporate debt
         Date(s) debt was incurred 2024
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.83     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $750.00
         Medicare Complete                                            Contingent
         Sean Gorman                                                  Unliquidated
         5119 NE 8th St                                               Disputed
         Kansas City, MO 64119
                                                                   Basis for the claim: Corporate debt
         Date(s) debt was incurred 2023
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.84     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,500.00
         Medicare Complete                                            Contingent
         Jeremy David                                                 Unliquidated
         5119 NE 8th St                                               Disputed
         Kansas City, MO 64119
                                                                   Basis for the claim: Corporate debt
         Date(s) debt was incurred 2023
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.85     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $5,374.00
         Metrix Holdings LLC dba Equoto                               Contingent
         817 W Peachtree St, NE                                       Unliquidated
         (Ste P200)                                                   Disputed
         Atlanta, GA 30308
                                                                   Basis for the claim: Corporate debt
         Date(s) debt was incurred 2023
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.86     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $289.00
         Midnight Oil Marketing Group, Inc.                           Contingent
         702 Ash Street, Ste. 107                                     Unliquidated
         San Diego, CA 92101                                          Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.87     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $4,300.00
         Movses Manukyan                                              Contingent
         5a Tumanyan St.                                              Unliquidated
         Yerevan                                                      Disputed
         Armenia 0001
                                                                   Basis for the claim: Corporate debt
         Date(s) debt was incurred 2024
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.88     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $71,652.00
         Mutual of Omaha                                              Contingent
         3300 Mutual of Omaha Plaza                                   Unliquidated
         Omaha, NE 68175                                              Disputed
         Date(s) debt was incurred 2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.89     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,250.00
         Nutmeg Insurance Advisors LLC                                Contingent
         1 St. John St                                                Unliquidated
         North Haven, CT 06473                                        Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.90     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,924.50
         Ogden & Fricks LLP                                           Contingent
         656 Santa Rosa Street, Suite 2B                              Unliquidated
         San Luis Obispo, CA 93401                                    Disputed
         Date(s) debt was incurred 2023-2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number 1658
                                                                   Is the claim subject to offset?     No       Yes

3.91     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $5,818.00
         Optimize to Convert Digital, LLC                             Contingent
         170 Commerce Way, Suite 200                                  Unliquidated
         Portsmouth, NH 03801                                         Disputed
         Date(s) debt was incurred 2023-2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.92     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,000.00
         Options Agency                                               Contingent
         802 Kingsgate Dr                                             Unliquidated
         Corona, CA 92882                                             Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.93     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,392.62
         Paylocity                                                    Contingent
         1400 American Lane                                           Unliquidated
         Schaumburg, IL 60173                                         Disputed
         Date(s) debt was incurred 2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number 5703
                                                                   Is the claim subject to offset?     No       Yes




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            Name

3.94     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $2,800.00
         Peak Advertising, LLC                                        Contingent
         1200 Pierce Rd                                               Unliquidated
         Madison, TN 37115                                            Disputed
         Date(s) debt was incurred 2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.95     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $22,849.40
         PolicyScout, LLC                                             Contingent
         10808 South River Front Parkway                              Unliquidated
         Ste. 500                                                     Disputed
         South Jordan, UT 84095
                                                                   Basis for the claim: Corporate debt
         Date(s) debt was incurred 2023-2024
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.96     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $9,719.60
         PX, Inc.                                                     Contingent
         44 Wall Street - Suite 605                                   Unliquidated
         New York, NY 10005                                           Disputed
         Date(s) debt was incurred 2023-2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.97     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $300.00
         QuinStreet Inc.                                              Contingent
         P.O. Box 8398                                                Unliquidated
         Pasadena, CA 91109-8398                                      Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.98     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $240.00
         Quote Storm Holdings, LLC                                    Contingent
         P.O. Box 558834                                              Unliquidated
         Miami, FL 33255                                              Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.99     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $134.50
         Quotehound Inc.                                              Contingent
         1101 Central Expy S Ste 250                                  Unliquidated
         Allen, TX 75013                                              Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.100    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,659.41
         QuoteWizard by LendingTree LLC                               Contingent
         P.O. Box 840470                                              Unliquidated
         Dallas, TX 75284-0470                                        Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number 6554
                                                                   Is the claim subject to offset?     No       Yes




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3.101    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $78.69
         Retreaver                                                    Contingent
         36 Cattano Avenue, 5th Floor                                 Unliquidated
         Morristown, NJ 07960                                         Disputed
         Date(s) debt was incurred 2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.102    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $1,170.00
         Right Choice Community Commitment                            Contingent
         919A Atlantic Ave                                            Unliquidated
         Atlantic City, NJ 08401                                      Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.103    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $900.00
         Right Choice Community Commitment                            Contingent
         919A Atlantic Ave                                            Unliquidated
         Atlantic City, NJ 08401                                      Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.104    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $3,704.55
         Salt Media Group                                             Contingent
         8751 Sandy Parkway                                           Unliquidated
         Sandy, UT 84070                                              Disputed
         Date(s) debt was incurred 2023-2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.105    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $540.00
         Sam Alvarado                                                 Contingent
         22845 AVE 22                                                 Unliquidated
         Madera, CA 93638                                             Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.106    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $601,867.96
         SBA Disaster Covid-19 Economic Inj                           Contingent
         CESC-Covid EIDL Service Center                               Unliquidated
         14925 Kingsport Rd                                           Disputed
         Fort Worth, TX 76155
                                                                   Basis for the claim: Corporate debt
         Date(s) debt was incurred 2020
         Last 4 digits of account number 7804                      Is the claim subject to offset?     No       Yes


3.107    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $1,500.00
         Sean Nguyen                                                  Contingent
         1297 Flickinger Ave                                          Unliquidated
         San Jose, CA 95131                                           Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.108    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $500.00
         Senior Health LLC                                            Contingent
         7801 Pine Ridge Road                                         Unliquidated
         Louisville, KY 40241                                         Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.109    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $855.00
         Senior Life Insurance                                        Contingent
         Scott Maxwell                                                Unliquidated
         2619 S. Keene                                                Disputed
         Mesa, AZ 85209
                                                                   Basis for the claim: Corporate debt
         Date(s) debt was incurred 2024
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.110    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $3,600.00
         Spektra Financial                                            Contingent
         Sam Nemovi                                                   Unliquidated
         3131 Camino Del Rio N                                        Disputed
         San Diego, CA 92108
                                                                   Basis for the claim: Corporate debt
         Date(s) debt was incurred 2023
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.111    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $50.00
         State HQ                                                     Contingent
         152 North 480 East                                           Unliquidated
         PO Box 113                                                   Disputed
         Millville, UT 84326
                                                                   Basis for the claim: Corporate debt
         Date(s) debt was incurred 2022
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.112    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,200.00
         Steve Rush                                                   Contingent
         PO Box 149                                                   Unliquidated
         Eureka Springs, AR 72632                                     Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.113    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $3,425.00
         Stonehedge Media                                             Contingent
         88 Industrial Ct.                                            Unliquidated
         Freehold, NJ 07728                                           Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.114    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $13,898.53
         Suited Connector, LLC                                        Contingent
         P.O. Box 844017                                              Unliquidated
         Dallas, TX 75284-4017                                        Disputed
         Date(s) debt was incurred 2023-2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.115    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,035.00
         Sunshine Residuals LLC                                       Contingent
         Senior Health Desk                                           Unliquidated
         777 SE 2nd St, Unit C315                                     Disputed
         Deerfield Beach, FL 33441
                                                                   Basis for the claim: Corporate debt
         Date(s) debt was incurred 2023
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.116    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $636.50
         The Hanover Insurance Group                                  Contingent
         440 Lincoln Streetn                                          Unliquidated
         Worcester, MA 01653                                          Disputed
         Date(s) debt was incurred 2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number 1000
                                                                   Is the claim subject to offset?     No       Yes

3.117    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $855.00
         The Palmer Agency                                            Contingent
         PO Box 9276                                                  Unliquidated
         Rochester, MN 55903                                          Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.118    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $9,710.00
         Thriti Technologies LLC                                      Contingent
         2411 Aiken Drive                                             Unliquidated
         Richmond, VA 23294                                           Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.119    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $825.60
         Tiburon Media Group, LLC                                     Contingent
         39 Main Street                                               Unliquidated
         Belvedere Tiburon, CA 94920                                  Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.120    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $770.00
         Travis Flatt                                                 Contingent
         3201 Wind Call Ln.                                           Unliquidated
         Edmond, OK 73034                                             Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.121    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $2,049.00
         Triumph Communications, LLC                                  Contingent
         Susan Anderson                                               Unliquidated
         20 Collins Rd.                                               Disputed
         Greeneville, TN 37745
                                                                   Basis for the claim: Corporate debt
         Date(s) debt was incurred 2024
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.122    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,200.00
         United Lead Center LLC                                       Contingent
         2145 Davie Blvd, St 201                                      Unliquidated
         Fort Lauderdale, FL 33312                                    Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.123    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $3,600.00
         Uprise Solar                                                 Contingent
         1140 3rd St NE                                               Unliquidated
         Washington, DC 20002                                         Disputed
         Date(s) debt was incurred 2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.124    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $229.95
         VIP Response                                                 Contingent
         Parijsboulevard 143C                                         Unliquidated
         3541CS Utrecht                                               Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.125    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $5,590.29
         Wells Fargo Bank, N.A. (114)                                 Contingent
         P.O. Box 6995                                                Unliquidated
         Portland, OR 97228-6995                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number 2027
                                                                   Is the claim subject to offset?     No       Yes

3.126    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $22,701.55
         Wells Fargo SBL                                              Contingent
         P.O. Box 29482                                               Unliquidated
         Phoenix, AZ 85038-8650                                       Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number 5364
                                                                   Is the claim subject to offset?     No       Yes

3.127    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,780.68
         Wells Fargo SBL                                              Contingent
         P.O. Box 29482                                               Unliquidated
         Phoenix, AZ 85038-8650                                       Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number 3337
                                                                   Is the claim subject to offset?     No       Yes

3.128    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $51,795.54
         Wells Fargo SBL                                              Contingent
         P.O. Box 29482                                               Unliquidated
         Phoenix, AZ 85038-8650                                       Disputed
         Date(s) debt was incurred 2023-2024
                                                                   Basis for the claim: Corporate debt
         Last 4 digits of account number 2649
                                                                   Is the claim subject to offset?     No       Yes




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3.129     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $45.00
          William West                                                        Contingent
          7793 Waggoner Chase Blvd                                            Unliquidated
          Blacklick, OH 43004                                                 Disputed
          Date(s) debt was incurred 2023
                                                                           Basis for the claim: Corporate debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?      No       Yes

3.130     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $595.00
          Wolffs Financial                                                    Contingent
          9593 Town Parc Circle S                                             Unliquidated
          Parkland, FL 33076                                                  Disputed
          Date(s) debt was incurred 2024
                                                                           Basis for the claim: Corporate debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?      No       Yes

3.131     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $18,000.00
          ZoomInfo Technologies LLC                                           Contingent
          805 Broadway Street, Suite 900                                      Unliquidated
          Vancouver, WA 98660                                                 Disputed
          Date(s) debt was incurred 2024
                                                                           Basis for the claim: Corporate debt
          Last 4 digits of account number 2623
                                                                           Is the claim subject to offset?      No       Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any
4.1       Altus Receivables Management
          2121 Airline Drive, Suite 520                                                             Line     3.25                                   2159
          Metairie, LA 70001
                                                                                                           Not listed. Explain

4.2       CMI Credit Mediators, Inc.
          P.O. Box 456                                                                              Line     3.100                                  3052
          Upper Darby, PA 19082-0456
                                                                                                           Not listed. Explain

4.3       Department of Commerce
          Bureau of Wage & Hour Admin.                                                              Line     2.48                                   6103
          P.O. Box 4009
                                                                                                           Not listed. Explain
          Reynoldsburg, OH 43068-9009

4.4       Dickie, McCamey & Chilcote, P.C.
          Two PPG Place, Suite 400                                                                  Line     3.37
          Pittsburgh, PA 15222
                                                                                                           Not listed. Explain

4.5       Euler Hermes Collections North
          America Company                                                                           Line     3.12                                   0246
          100 International Drive, 22nd Floor
                                                                                                           Not listed. Explain
          Baltimore, MD 21202

4.6       Garth G. Gavenda
          Jellum Law                                                                                Line     3.49
          7616 Currell Blvd., Suite 245
                                                                                                           Not listed. Explain
          Saint Paul, MN 55125


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          Name and mailing address                                                     On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                       related creditor (if any) listed?             account number, if
                                                                                                                                     any
4.7       Gregory N. Filosa
          Filosa Graff LLP                                                             Line     3.4
          17 State Street, 40th Floor
                                                                                              Not listed. Explain
          New York, NY 10004

4.8       Law Offices of Carol Hamilton
          Continental Commercial Group                                                 Line     3.33                                 2920
          1111 N. Brand Blvd, Ste 401
                                                                                              Not listed. Explain
          Glendale, CA 91202

4.9       N.C. Department of Labor
          1101 Mail Service Center                                                     Line     2.7                                  9235
          Raleigh, NC 27699
                                                                                              Not listed. Explain

4.10      Oklahoma Department of Labor
          409 NE 28th Street, 3rd Floor                                                Line     2.9                                  5CKG
          Oklahoma City, OK 73105-5212
                                                                                              Not listed. Explain

4.11      Qualifier
          6501 Congress Avenue, Unit 140                                               Line     3.48
          Boca Raton, FL 33487
                                                                                              Not listed. Explain

4.12      Richard T. Avis, Attorney &
          Associates, LLC                                                              Line     3.41                                 1869
          P.O. Box 735633
                                                                                              Not listed. Explain
          Chicago, IL 60673-5633

4.13      The Leviton Law Firm, Ltd.
          One Pierce Place, Suite 725W                                                 Line     3.25                                 2159
          Itasca, IL 60143
                                                                                              Not listed. Explain

4.14      Tim Waggoner, Esq.
          Mutual of Omaha                                                              Line     3.88
          3300 Mutual of Omaha Plaza
                                                                                              Not listed. Explain
          Omaha, NE 68175

4.15      Triumph Communications, LLC
          180 Pauline Drive                                                            Line     3.121
          Hazel Green, AL 35750
                                                                                              Not listed. Explain

4.16      Tucker Albin & Associates
          1702 N. Collins Blvd, Suite 100                                              Line     3.5                                  2750
          Richardson, TX 75080
                                                                                              Not listed. Explain


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                           Total of claim amounts
5a. Total claims from Part 1                                                              5a.          $                    103,800.24
5b. Total claims from Part 2                                                              5b.    +     $                  2,796,648.02

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                   5c.          $                    2,900,448.26




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Fill in this information to identify the case:

Debtor name       Digital Market Media, Inc.

United States Bankruptcy Court for the:     CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      Digital Market Media, Inc.

United States Bankruptcy Court for the:   CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Thomas and                  604 Hillside Court                                        Fresno First Bank                  D
          Dawn Carolan                Arroyo Grande, CA 93420                                                                      E/F       3.49
                                                                                                                                   G




   2.2    Thomas and                  604 Hillside Court                                        Aragon Advertising,                D
          Dawn Carolan                Arroyo Grande, CA 93420                                   LLC                                E/F       3.14
                                                                                                                                   G




   2.3    Thomas and                  604 Hillside Court                                        Fora Financial                     D
          Dawn Carolan                Arroyo Grande, CA 93420                                   Advance LLC                        E/F       3.46
                                                                                                                                   G




   2.4    Thomas and                  604 Hillside Court                                        Fresh Funding                      D
          Dawn Carolan                Arroyo Grande, CA 93420                                   Solutions Inc.                     E/F       3.48
                                                                                                                                   G




   2.5    Thomas and                  604 Hillside Court                                        SBA Disaster                       D
          Dawn Carolan                Arroyo Grande, CA 93420                                   Covid-19 Economic                  E/F       3.106
                                                                                                Inj
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 2
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Debtor    Digital Market Media, Inc.                                              Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor



  2.6     Thomas and               604 Hillside Court                                  Bluevine Inc.                      D
          Dawn Carolan             Arroyo Grande, CA 93420                                                                E/F   3.21
                                                                                                                          G




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Fill in this information to identify the case:

Debtor name         Digital Market Media, Inc.

United States Bankruptcy Court for the:    CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                               $727,285.87
      From 1/01/2024 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                             $5,523,814.76
      From 1/01/2023 to 12/31/2023
                                                                                          Other


      For year before that:                                                               Operating a business                             $7,654,212.09
      From 1/01/2022 to 12/31/2022
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
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    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
    may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                  Total amount of value          Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken
      DDR Media, LLC                                   Did not pay invoices                                            Last 90 days                   $135.00
      2213 Forest Hills Dr., Ste. 3                    Last 4 digits of account number:
      Harrisburg, PA 17112

      Peak Advertising, LLC                            Did not pay invoices                                            Last 90 days                $1,835.00
      1200 Pierce Rd                                   Last 4 digits of account number:
      Madison, TN 37115

      DriveTake LLC                                    Did not pay invoices                                            Last 90 days                   $612.00
      7000 West Palmetto Park Road                     Last 4 digits of account number:
      Ste. 210
      Boca Raton, FL 33433

      PX, Inc.                                         Did not pay invoices                                            Last 90 days                $4,683.97
      44 Wall Street - Suite 605                       Last 4 digits of account number:
      New York, NY 10005


Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                               Nature of case              Court or agency's name and                 Status of case
              Case number                                                          address
      7.1.    Sharee Gavin v. Digital Market           Employee unpaid             Department of Commerce                        Pending
              Media, Inc.                              wages                       Bureau of Wage and Hour                       On appeal
              24-0661-03                                                           Administration
                                                                                                                                 Concluded
                                                                                   PO Box 4009
                                                                                   Reynoldsburg, OH
                                                                                   43068-9009




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              Case title                              Nature of case               Court or agency's name and             Status of case
              Case number                                                          address
      7.2.    Brittany Stetson v. Digital             Employee unpaid              North Carolina Department                   Pending
              Market Media, LLC                       wages                        of Labor                                    On appeal
              209235                                                               1101 Mail Service Center
                                                                                                                               Concluded
                                                                                   Raleigh, NC 27699

      7.3.    Cathie Snider v. Digital                Employee unpaid              Oklahoma Department of                      Pending
              Market Media, LLC                       wages                        Labor                                       On appeal
              202400595CKG                                                         409 NE 28th Street, 3rd
                                                                                                                               Concluded
                                                                                   Floor
                                                                                   Oklahoma City, OK
                                                                                   73105-5212


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address            Description of the gifts or contributions                  Dates given                          Value


Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                   Dates of loss             Value of property
      how the loss occurred                                                                                                                             lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.




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                Who was paid or who received              If not money, describe any property transferred               Dates               Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.     Law Offices of Edwin J.
                Rambuski
                1401 Higuera Street
                San Luis Obispo, CA                       Attorney Fees - $5,000
                93401-2915                                Filing Fee - $338                                             4/11/24                   $5,338.00

                Email or website address
                edwin@rambuskilaw.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

               Who received transfer?                  Description of property transferred or                     Date transfer             Total amount or
               Address                                 payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address              Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:       Personally Identifiable Information




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16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                        Employer identification number of the plan
                    DMM Investing For the Future Employee 401k Plan                                     EIN: 1360252-01

                    Has the plan been terminated?
                      No
                       Yes


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None



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Debtor      Digital Market Media, Inc.                                                          Case number (if known)



Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Five Cities CPAs, Inc.                                                                                             2017 - present
                    227 South Halcyon Road, Suite 101
                    Arroyo Grande, CA 93420

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None

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    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Five Cities CPAs, Inc.
                    227 South Halcyon Road, Suite 101
                    Arroyo Grande, CA 93420

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address
      26d.1.        Fresno First Bank
                    7690 N. Palm Avenue
                    Fresno, CA 93711
      26d.2.        Bluevine, Inc.
                    401 Warren Street, Ste. 300
                    Redwood City, CA 94063
      26d.3.        Fora Financial Advance, LLC
                    519 Eighth Avenue
                    New York, NY 10018
      26d.4.        Libertas Funding
                    411 West Putnam Ave., Ste. 220
                    Greenwich, CT 06830
      26d.5.        Captain Capital Group
                    1975 E. 8th St.
                    Brooklyn, NY 11223
      26d.6.        Blue Edge Ventures
                    88 Pine St.
                    New York, NY 10005
      26d.7.        Qualifier LLC (for Fresh Funding)
                    6501 Congress Avenue, Unit 140
                    Boca Raton, FL 33487
      26d.8.        On Deck Capital, LLC
                    Loan Operations Center
                    701 North Stuart Street, Ste 700
                    Arlington, VA 22203
      26d.9.        Lowry & Associates Inc.
                    967 Pioneer Rd
                    Draper, UT 84020
      26d.10.       SBG Funding
                    400 E. 57th St.
                    New York, NY 10022
      26d.11.       Kapitus
                    2500 Wilson Blvd., Ste. 350
                    Arlington, VA 22201
      26d.12.       FoxRothschild LLP
                    1225 17th St., Ste. 2200
                    Denver, CO 80202

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      Name and address
      26d.13.       The Fundworks LLC (for FreshFunding)
                    299 S. Main St., Ste 1300
                    PMB 93894
                    Salt Lake City, UT 84111
      26d.14.       Fresh Funding Solutions, Inc.
                    157 Church St., 19th Fl.
                    New Haven, CT 06510
      26d.15.       Blue Group Capital
                    4800 N Federal Highway
                    Boca Raton, FL 33431
      26d.16.       Polaris Business Strategic Advisors Inc.
                    22 W. 38th St., 3rd Floor
                    New York, NY 10038
      26d.17.       Dubbs Holdings
                    3611 14th Ave.
                    Brooklyn, NY 11218
      26d.18.       MyMax Capital
                    463 Bedford Ave.
                    Brooklyn, NY 11211
      26d.19.       Funding Circle
                    707 17th St., Ste. 2200
                    Denver, CO 80202
      26d.20.       Big Think Capital
                    225 Broadhollow Rd.
                    Melville, NY 11747
      26d.21.       Fundera by NerdWallet
                    123 Williams St., Floor 21
                    New York, NY 10038
      26d.22.       Businessloans.com
                    164 Market St., Ste. 307
                    Charleston, SC 29401
      26d.23.       Yarrow Financial
                    150 E. Palmetto Park Rd., Ste. 800
                    Boca Raton, FL 33432
      26d.24.       Rok Financial
                    3500 Sunrise Hwy
                    Bldg 100, Ste. 201
                    Great River, NY 11739

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

             Name of the person who supervised the taking of the                      Date of inventory        The dollar amount and basis (cost, market,
             inventory                                                                                         or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.




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      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Tom Carolan                            604 Hillside Ct.                                    Shareholder, CEO, Director              51%
                                             Arroyo Grande, CA 93420

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Dawn Carolan                           604 Hillside Ct.                                    Shareholder, CFO and                    49%
                                             Arroyo Grande, CA 93420                             Secretary, Director



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1                                                                                                                          Salary,
      .    Tom Carolan                                $94,475.44 - Salary                                                           reimbursement,
             604 Hillside Ct.                         $16.15 - Reimbursement                                    Various over        shareholder
             Arroyo Grande, CA 93420                  $8,562.50 - Shareholder distributions                     last year           distributions

             Relationship to debtor
             Shareholder, Officer Director


      30.2                                                                                                                          Salary,
      .    Dawn Carolan                               $94,546.93 - Salary                                                           reimbursement,
             604 Hillside Ct.                         $2,002.80 - Reimbursement                                 Various over        shareholder
             Arroyo Grande, CA 93420                  $8,562.50 - Shareholder distributions                     last year           distributions

             Relationship to debtor
             Shareholder, Officer, Director


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund




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                       Aaron Karn
                       208 Oak St.
                       Bakersfield, CA 93304


                       AcquireCrowd
                       4533 MacArthur Blvd., Ste A5314
                       Newport Beach, CA 92660


                       Adam Lubenow
                       21114 N 37th Run
                       Phoenix, AZ 85050


                       Adjunct Media
                       22 Brookside Terrance
                       Caldwell, NJ 07006


                       AdMediary, LLC
                       23929 Valencia Blvd., Ste 404
                       Valencia, CA 91355


                       Adsync Media LLC
                       1300 South Miami Avenue
                       Miami, FL 33130


                       Alabama Department of Labor
                       50 North Ripley Street
                       Montgomery, AL 36132


                       Alicia Becker
                       7281 Blackstone Drive
                       Florence, KY 41042
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                   Alpine Digital Group, Inc.
                   13856 W. 2nd Ave
                   Golden, CO 80401


                   Altus Receivables Management
                   2121 Airline Drive, Suite 520
                   Metairie, LA 70001


                   Alyse O. Locklear
                   1055 Flats Ave
                   #206
                   Mebane, NC 27302


                   American Assurance
                   4445 Corporation Ln., Ste 264
                   Virginia Beach, VA 23462


                   AmeriGuide Financial
                   P.O. Box 1497
                   Topeka, KS 66601


                   Angela Byrne
                   Ballycullane Lane
                   Ballycullane New Ross Co Wexford
                   Ireland


                   Angela Gunness
                   3839 Megan Lane
                   Encinitas, CA 92024


                   Angela L. Trout
                   3413 Cottage St
                   Brownwood, TX 76801
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                   Apollo Interactive, LLC
                   139 Illinois St
                   El Segundo, CA 90245


                   Aqua Vida Media LLC
                   325 Sentry Pkwy
                   Bldg 5 W Ste 200
                   Blue Bell, PA 19422


                   Aragon Advertising, LLC
                   66 Mineola Avenue, #1355
                   Roslyn Heights, NY 11577


                   Arizona Department of Revenue
                   P.O. Box 29009
                   Phoenix, AZ 85038


                   Assurance IQ
                   920 5th Avenue, Ste 3600
                   Seattle, WA 98104


                   B Two Direct, LLC
                   100 Sterling Pkwy, Ste 105
                   Mechanicsburg, PA 17050


                   Betterlife Insurance
                   6522 Grand Teton Plaza
                   Madison, WI 53719


                   Big Brook Media, LLC
                   Little Brook Media
                   20 S. Main Street, Suite 206
                   New City, NY 10956
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                   Birdeye Inc.
                   2479 E. Bayshore Rd, Suite #188
                   Palo Alto, CA 94303


                   Blue Wing Ads, LLC
                   Jeffrey Alan Libby
                   2637 E Atlantic Blvd, Suite #12566
                   Pompano Beach, FL 33062


                   Bluevine Inc.
                   401 Warren Street, Suite 300
                   Redwood City, CA 94063


                   Brande L. Bell
                   383 Chadwick Commons
                   Stockbridge, GA 30281


                   Brittany N. Stetson
                   PO Box 280
                   White Oak, NC 28399


                   Bullet EV Charging Solutions, LLC
                   111 Congress Ave, Suite 500
                   Austin, TX 78701


                   Business Legal Partners
                   Attorneys at Law
                   35 N. Lake, Suite 710
                   Pasadena, CA 91101


                   Catherin A. Myers
                   157 Big Pine Dr
                   Valley Grande, AL 36701
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                   Cathie O. Snider
                   8713 North Kensington Rd
                   Oklahoma City, OK 73132


                   Chiquita M. Jolliff
                   943 May Street, 2nd Floor
                   Hammond, IN 46320


                   Christie A. Mays
                   3 Dot Dr
                   Fayetteville, TN 37334


                   Christopher H. Baker
                   5400 Rock Chalk
                   #20-308
                   Lawrence, KS 66049


                   Christopher Newsome
                   11726 Rolling Stream Dr
                   Tomball, TX 77375


                   Clarisse Sniezek
                   606 Tanana Fall Drive
                   Ruskin, FL 33570


                   Clickdee, LLC
                   30 N. Gould Street, STE R
                   Sheridan, WY 82801


                   CMI Credit Mediators, Inc.
                   P.O. Box 456
                   Upper Darby, PA 19082-0456
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                   CO2 Ventures LLC
                   OnCore Leads
                   9580 Oak Avenue Parkway, Suite 7
                   Folsom, CA 95630


                   Commonwealth of Kentucky
                   Office of Unemployment Insurance
                   P.O. Box 948
                   Frankfort, KY 40602-0948


                   Complete Sales LLC
                   1021 Lake Hollow Dr.
                   Little Elm, TX 75068


                   Convoso, Inc.
                   22837 Ventura Blvd., Ste. 300
                   Woodland Hills, CA 91364


                   Cortez D. Allen
                   7313 Covert Ave
                   Cleveland, OH 44105


                   CTA Media
                   15567 74th Avenue
                   Palm Beach Gardens, FL 33418


                   DDR Media, LLC
                   2213 Forest Hills Dr., Ste. 3
                   Harrisburg, PA 17112


                   Department of Commerce
                   Bureau of Wage & Hour Admin.
                   P.O. Box 4009
                   Reynoldsburg, OH 43068-9009
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                   Diablo Media LLC
                   3001 Brighton Blvd, Suite 769
                   Denver, CO 80216


                   Dianne Kristine Marmol
                   Block 2 Lot 30 Phase 1, Avida
                   Settings Cavite, Molino 4, Bacoor
                   Cavite, Philippines 4102


                   Dickie, McCamey & Chilcote, P.C.
                   Two PPG Place, Suite 400
                   Pittsburgh, PA 15222


                   Diego Chalarca
                   677 Trace Circle #201
                   Deerfield Beach, FL 33441


                   Digital Media Solutions dba
                   Forte Media Solutions, LLC
                   4800 140th Ave North, Suite 101
                   Clearwater, FL 33762


                   Digital Viking Media, Inc.
                   13681 Newport Ave, Suite 8-226
                   Tustin, CA 92780


                   Digitree Solutions LLC
                   133 Hillside Drive
                   Neptune, NJ 07753


                   Direct2Market Digital Media Solut.
                   70 Cooper Rd
                   Rochester, NY 14617
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                   DriveTake LLC
                   7000 West Palmetto Park Road
                   Ste. 210
                   Boca Raton, FL 33433


                   eLocal USA LLC
                   1010 Spring Mill Ave., Ste. 200
                   Conshohocken, PA 19428


                   Employer Advocates Group
                   735 Tank Farm Road, Suite 130-B
                   San Luis Obispo, CA 93401


                   Enginefish LLC
                   707 Continental Circle Unit #312
                   Mountain View, CA 94040


                   Eternal Life Group, LLC
                   520 Plantation Creek Drive
                   Loganville, GA 30052


                   Ethel Loycelle Baxter
                   1916 Hewett Lane
                   Maitland, FL 32751


                   Euler Hermes Collections North
                   America Company
                   100 International Drive, 22nd Floor
                   Baltimore, MD 21202


                   Excel Impact, LLC
                   382 NE 191st Street, Ste 57537
                   Miami, FL 33179
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                   ExlService.com, LLC
                   24 Arnett Avenue, Suite 100
                   Lambertville, NJ 08530


                   Faisal Zeid
                   7930 Tireswing Rd
                   Dunn Loring, VA 22027


                   Family First Life
                   John Patrick Spera
                   475 FM 3427
                   Greenville, TX 75401


                   Family First Life
                   Thomas Barnes
                   5210 W Patrick Ln
                   Las Vegas, NV 89118


                   First Insurance Funding
                   450 Skokie Blvd, Ste 1000
                   Northbrook, IL 60062-7917


                   Fora Financial Advance LLC
                   1385 Broadway, 15th Floor
                   New York, NY 10018


                   Forge47 LLC
                   2833 Crockett Street, Unit #1047
                   Fort Worth, TX 76107


                   Franchise Tax Board
                   Bankruptcy Section, MS: A-340
                   P.O. Box 2952
                   Sacramento, CA 95812-2952
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                   Fresh Funding Solutions Inc.
                   157 Church Street, 19th Floor
                   New Haven, CT 06510


                   Fresno First Bank
                   7690 N. Palm Ave., Ste. 101
                   Fresno, CA 93711


                   Gabriel A. Sandoval
                   12140 N Kylene Canyon Dr
                   Oro Valley, AZ 85755


                   Garth G. Gavenda
                   Jellum Law
                   7616 Currell Blvd., Suite 245
                   Saint Paul, MN 55125


                   Glass Roots Marketing
                   400 Kelby Street, Ste 1200
                   Fort Lee, NJ 07024


                   Glatzer & Associates
                   10365 Cameilla St.
                   Pompano Beach, FL 33076


                   Glenda S. Gustin
                   13506 E. 4th Place
                   Tulsa, OK 74108-1104


                   Google, Inc.
                   Corporation Service Company
                   2710 Gateway Oaks Drive, Suite 150N
                   Sacramento, CA 95833
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                   Grasshopper
                   333 Summer Street, 5th Floor
                   Boston, MA 02210


                   Grateful Addicts Recovery
                   12 Emmet Terrace, Apt. 3
                   Revere, MA 02151


                   Gravie
                   10 NE 2nd St. #300
                   Minneapolis, MN 55413


                   Greencore Environmental
                   John Feldman
                   1515 N. Cocoa Blvd., Unit 102
                   Cocoa, FL 32922


                   Greencore Environmental
                   John Feldman
                   4540 Bonanza St.
                   Cocoa, FL 32927


                   Gregory N. Filosa
                   Filosa Graff LLP
                   17 State Street, 40th Floor
                   New York, NY 10004


                   Guadalupe P. Conolly
                   2008 1/2 Stratford Ave
                   Neptune, NJ 07753


                   Health Gods Consultants LLC
                   11235 NW 43rd Place
                   Coral Springs, FL 33065
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                   Here Comes the Sun
                   9880 Indiana Avenue, Suite 3
                   Riverside, CA 92503


                   Hubspot Inc.
                   2 Canal Park
                   Cambridge, MA 02141


                   ICIT Development Corp.
                   300 Sunny Isles Blvd 1405
                   Sunny Isles Beach, FL 33160


                   Ifficient Inc.
                   12081 W. Alameda Pkwy #506
                   Lakewood, CO 80228


                   Inbound Ignite, LLC
                   8 The Green, Suite 17013
                   Dover, DE 19901


                   Inbounds LLC
                   254 Chapman Rd, Ste 208
                   #5821
                   Newark, DE 19702


                   Insurance Solutions Group
                   2037 Northside Dr. East
                   Statesboro, GA 30458


                   Interest Media, Inc.
                   P.O. Box 875194
                   Kansas City, MO 64187-5194
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                   Intuit, Inc.
                   2700 Coast Avenue
                   Mountain View, CA 94043


                   Jackqueline Stine
                   Unit 1621-1622, Soho Central Condo
                   Shaw Blvd, Mandaluyong City
                   Philippines 1552


                   Jana H. Norrell
                   1045 Landsdowne Manor Ln E
                   Apt. 248
                   Memphis, TN 38117


                   Jennifer Geston-Selbach
                   1423 Wisconsin Ave
                   Palm Harbor, FL 34683


                   Jennifer N. Gibbs
                   102 N Seaview Road
                   Wilmington, NC 28409


                   Jessica N. Feltner
                   1120 S. Timber Creek Dr.
                   Milford, OH 45150


                   Juan Ramos
                   3014 Fairfield Dr
                   Brownsville, TX 78526


                   Judith Philbrook
                   1903 Willowbend Dr
                   Killeen, TX 76543
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                   Karen Kristeen G. Betita
                   5 F R Aquino St. N. Susan Executive
                   Village, Matandang Balara
                   Quezon City, Philippines 1119


                   Karen Y. Dionisio
                   23 Goldman St.
                   East Fairview, Quezon City
                   Philippines 1100 639662270802


                   Kasey Geyer
                   5350 Desoto Road, Apt. 1306
                   Sarasota, FL 34235


                   Kautiana M. Ford
                   3144 Artemisia Lane
                   Wesley Chapel, FL 33543


                   Keith W. Moore
                   602 Buckner St
                   Elsmere, KY 41018


                   Kenneth A. Casson
                   101 East 43rd Street 2
                   Taylor Mill, KY 41015


                   Kenneth Smith Insurance Services
                   44855 Corte Casa
                   Temecula, CA 92592


                   Kingdom Insurance Group
                   515 North Broad Street
                   Thomasville, GA 31792
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                   Law Offices of Carol Hamilton
                   Continental Commercial Group
                   1111 N. Brand Blvd, Ste 401
                   Glendale, CA 91202


                   Lawanda Muhammad
                   13637 Aspen Leaf Ln
                   Eastvale, CA 92880


                   LeadProsper
                   38 Rosscraggon Rd, Suite C
                   Asheville, NC 28803


                   LexisNexis Risk Solutions FL Inc
                   28330 Network Place
                   Chicago, IL 60673-1283


                   Lisa M. Knapp
                   8400 Northwest 25 Street
                   #100
                   Doral, FL 33198


                   Louisiana Department of Revenue
                   P.O. Box 201
                   Baton Rouge, LA 70821-0201


                   Luke Rankin
                   11448 Highway 76 W
                   Gray Court, SC 29645


                   Ma. Jill B. Lugtu
                   877 Don Quijote St.
                   Sampaloc, Manila
                   Philippines 1015 693778149159
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                   Macy D. Lee
                   2305 San Pedro Dr
                   College Station, TX 77845


                   Madison P. Jones
                   2109 West Ln
                   Jacksonville, AR 72076


                   Malachi Uysse
                   1317 Edgewater Dr., Ste. 5711
                   Orlando, FL 32804


                   Mansueto Ventures, LLC
                   7 World Trade Center
                   New York, NY 10007


                   Media Force Ltd
                   26 Harokmim St.
                   Holon
                   Israel 5885849


                   Medicare Complete
                   Dalton Lawson
                   5119 NE 8th St
                   Kansas City, MO 64119


                   Medicare Complete
                   Sean Gorman
                   5119 NE 8th St
                   Kansas City, MO 64119


                   Medicare Complete
                   Jeremy David
                   5119 NE 8th St
                   Kansas City, MO 64119
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                   Metrix Holdings LLC dba Equoto
                   817 W Peachtree St, NE
                   (Ste P200)
                   Atlanta, GA 30308


                   Midnight Oil Marketing Group, Inc.
                   702 Ash Street, Ste. 107
                   San Diego, CA 92101


                   Missouri Department of Labor and
                   Industrial Relations
                   P.O. Box 59
                   Jefferson City, MO 65104-0059


                   Movses Manukyan
                   5a Tumanyan St.
                   Yerevan
                   Armenia 0001


                   Mutual of Omaha
                   3300 Mutual of Omaha Plaza
                   Omaha, NE 68175


                   N.C. Department of Labor
                   1101 Mail Service Center
                   Raleigh, NC 27699


                   Natasha N. Morris
                   1003 Cobb Road
                   Statesboro, GA 30461


                   North Carolina Department Commerce
                   Employment Security Division
                   P.O. Box 26504
                   Raleigh, NC 27611-6504
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                   Nutmeg Insurance Advisors LLC
                   1 St. John St
                   North Haven, CT 06473


                   Ogden & Fricks LLP
                   656 Santa Rosa Street, Suite 2B
                   San Luis Obispo, CA 93401


                   Ohio Department of Job-Family Serv.
                   Office of Unemployment Insurance Op
                   P.O. Box 182404
                   Columbus, OH 43218-2404


                   Oklahoma Department of Labor
                   409 NE 28th Street, 3rd Floor
                   Oklahoma City, OK 73105-5212


                   Optimize to Convert Digital, LLC
                   170 Commerce Way, Suite 200
                   Portsmouth, NH 03801


                   Options Agency
                   802 Kingsgate Dr
                   Corona, CA 92882


                   Paylocity
                   1400 American Lane
                   Schaumburg, IL 60173


                   Peak Advertising, LLC
                   1200 Pierce Rd
                   Madison, TN 37115
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                   PolicyScout, LLC
                   10808 South River Front Parkway
                   Ste. 500
                   South Jordan, UT 84095


                   PX, Inc.
                   44 Wall Street - Suite 605
                   New York, NY 10005


                   Qualifier
                   6501 Congress Avenue, Unit 140
                   Boca Raton, FL 33487


                   QuinStreet Inc.
                   P.O. Box 8398
                   Pasadena, CA 91109-8398


                   Quote Storm Holdings, LLC
                   P.O. Box 558834
                   Miami, FL 33255


                   Quotehound Inc.
                   1101 Central Expy S Ste 250
                   Allen, TX 75013


                   QuoteWizard by LendingTree LLC
                   P.O. Box 840470
                   Dallas, TX 75284-0470


                   Rachel S. Trout
                   11726 Rolling Stream Dr
                   Tomball, TX 77375
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                   Ranjit K. Pandey
                   1202 Parkway Dr
                   #1202
                   Greenville, OH 45331


                   Raquel Otero Morales
                   135 Honey Dr
                   Brownsville, TX 78520


                   Regina L. Rodriguez
                   707 Racquet Ct
                   Harker Heights, TX 76548


                   Retreaver
                   36 Cattano Avenue, 5th Floor
                   Morristown, NJ 07960


                   Reynold P. Marshall
                   7917 Spring Run Dr
                   Magnolia, TX 77354


                   Richard T. Avis, Attorney &
                   Associates, LLC
                   P.O. Box 735633
                   Chicago, IL 60673-5633


                   Right Choice Community Commitment
                   919A Atlantic Ave
                   Atlantic City, NJ 08401


                   Robert E. Barnett
                   8921 Bradwell Place
                   #208
                   Fishers, IN 46037
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                   Salt Media Group
                   8751 Sandy Parkway
                   Sandy, UT 84070


                   Sam Alvarado
                   22845 AVE 22
                   Madera, CA 93638


                   SBA Disaster Covid-19 Economic Inj
                   CESC-Covid EIDL Service Center
                   14925 Kingsport Rd
                   Fort Worth, TX 76155


                   Sean Nguyen
                   1297 Flickinger Ave
                   San Jose, CA 95131


                   Senior Health LLC
                   7801 Pine Ridge Road
                   Louisville, KY 40241


                   Senior Life Insurance
                   Scott Maxwell
                   2619 S. Keene
                   Mesa, AZ 85209


                   Shanita B. Reed
                   18965 S Mobile St
                   Citronelle, AL 36522


                   Sharee Gavin
                   6109 W Fordham Place
                   Cincinnati, OH 45213
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                   Sharon V. Lezama
                   1744 Wesminster Circle
                   Griffin, GA 30223


                   Shawta Barnes
                   711 W Sanford St, Unit B
                   Arlington, TX 76012


                   Spektra Financial
                   Sam Nemovi
                   3131 Camino Del Rio N
                   San Diego, CA 92108


                   Stacy L. Green
                   805 Summit Park Trail #1
                   McDonough, GA 30253


                   State HQ
                   152 North 480 East
                   PO Box 113
                   Millville, UT 84326


                   Stephen Evans
                   1288 Bluets Rd
                   Newport, TN 37821


                   Steve Rush
                   PO Box 149
                   Eureka Springs, AR 72632


                   Stonehedge Media
                   88 Industrial Ct.
                   Freehold, NJ 07728
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                   Suited Connector, LLC
                   P.O. Box 844017
                   Dallas, TX 75284-4017


                   Sunshine Residuals LLC
                   Senior Health Desk
                   777 SE 2nd St, Unit C315
                   Deerfield Beach, FL 33441


                   Tennessee Dept. of Labor-Workforce
                   Employment Security Division
                   220 French Landing Drive
                   Nashville, TN 37243


                   The Hanover Insurance Group
                   440 Lincoln Streetn
                   Worcester, MA 01653


                   The Leviton Law Firm, Ltd.
                   One Pierce Place, Suite 725W
                   Itasca, IL 60143


                   The Palmer Agency
                   PO Box 9276
                   Rochester, MN 55903


                   Thomas and Dawn Carolan
                   604 Hillside Court
                   Arroyo Grande, CA 93420


                   Thriti Technologies LLC
                   2411 Aiken Drive
                   Richmond, VA 23294
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                   Tiburon Media Group, LLC
                   39 Main Street
                   Belvedere Tiburon, CA 94920


                   Tim Waggoner, Esq.
                   Mutual of Omaha
                   3300 Mutual of Omaha Plaza
                   Omaha, NE 68175


                   Tina L. Harvey
                   6617 NE 49th Terrace
                   Kansas City, MO 64119


                   Travis Flatt
                   3201 Wind Call Ln.
                   Edmond, OK 73034


                   Triumph Communications, LLC
                   Susan Anderson
                   20 Collins Rd.
                   Greeneville, TN 37745


                   Triumph Communications, LLC
                   180 Pauline Drive
                   Hazel Green, AL 35750


                   Tucker Albin & Associates
                   1702 N. Collins Blvd, Suite 100
                   Richardson, TX 75080


                   United Lead Center LLC
                   2145 Davie Blvd, St 201
                   Fort Lauderdale, FL 33312
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                   Uprise Solar
                   1140 3rd St NE
                   Washington, DC 20002


                   Vanessa L. Vaughn
                   12073 Roddy Rd
                   #15
                   Gonzales, LA 70737


                   VIP Response
                   Parijsboulevard 143C
                   3541CS Utrecht


                   Virginia L. Smith
                   19805 Green Forrest Dr.
                   Pass Christian, MS 39571


                   Wells Fargo Bank, N.A. (114)
                   P.O. Box 6995
                   Portland, OR 97228-6995


                   Wells Fargo SBL
                   P.O. Box 29482
                   Phoenix, AZ 85038-8650


                   William West
                   7793 Waggoner Chase Blvd
                   Blacklick, OH 43004


                   Wolffs Financial
                   9593 Town Parc Circle S
                   Parkland, FL 33076
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                   Yanecy Perdomo
                   5819 Palmetto Way
                   San Antonio, TX 78253


                   ZoomInfo Technologies LLC
                   805 Broadway Street, Suite 900
                   Vancouver, WA 98660
